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T fer Osburn
M
From: David Horr <dhorr85097@ao|.com>
Sent: Friday, May 04, 2018 2:16 PM
To: Tyler Osburn
Subject: Re: May 10 Meetlng

Thenlc you so much for the response and for the attachment re: Rule 16 conference I do not recall
receiving this and Will confirm once horne as l have every piece of mail regarding this and all cases
I've received from the court(s) chronologically filed in my office 1 left a message with J`udge Quist via
his phone and chambers numbers listed on the web (US Distr§ct Court Western Division). I am
awaiting their response

Respectfully,

David
Sent from my iPhone

> On May 4, 2018, at 1:35 PM, Tyler Osburn <tosburn@schenkboncher.com> wrote:

>

> David,

>

> The Rnle 16 conference Was set by the judge and is scheduled for May 10 at 11:00 a.m. l have
attached a copy of the order, which Was dated l\/.[arch 22, 2018 and was mailed to you by the court on
March 23, 2018. You Will have to contact the judge's office to see about an adjournment

>

> As for the joint status report, that has to be filed by Monday. As long as l get your approval by then,
that Would be i`me. Thanks.

,`>

>

> Tyler E. Osburn

> Attorney

> Schenk Boncher 8c Rypma

> 601 Three Miie Rd. NW

> Grand Rapids, MI 49544

> Phone: (616) 647-8277

> Fax: (616) 647-0958

> www.schenkboncher.com

>

>

> ----- Original Message -----

> Frorn: David [Inailto:davesgggt@_aol.corn]

> Sent: Friday, May 04, 2018 12:29 `PM

> To: Tyler Osburn

> Subject: May 10 l\/[eeting

>

>

> Am l required to attend? If so it's a scheduling conflict as it's 3 hours away with 6 days notice lt will
need to be rescheduled unless I'rn excused Please confirm.

 

1

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> I'll review the rest this evening If need be I'll consult a few Jfriends and proceed accordingly 'I`hanl<
you ri`yler.
>
> Sent from my iPhone
>
> [littps: / / www.mail-signatures.com / articles / wp~
content/themes/emailsignatures/images/faceboolc-35x35.gii'] Visit us on Facebook!
>
> <httns: //\Aww.facebook.com/SchenkBonclieernrna/ >Cont`identiality Notice:
> This entail message and any attachments are solely for the confidential
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> and promptly delete this message and any attachments from your
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> not waived by the transmission of this message Schenk, Boncher &
> Rypma, PC. Disclosure under Treasury Circular 2301 'I`he limited States
> Federal tax advice, if any, contained in this document and its
> attachments may not be used or referred to in the promoting, marketing
> or recommending of any entity, investment plan or arrangement, nor is
> such advice intended or written to be nsed, and may not be used, by a
> taxpayer for the purpose of avoiding Federal tax penalties <Order
> Setting Rule 16 Conf.pdf>

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Ty|er Osburn

 

From: David |-torr <dhorr85097@aol.com>

Sent: N|oriday, May 07, 2018 10:05 AM

To: Tyler Osbu rn

Cc: Brian Weiss

Subject: Re: Joint Status Report - Garnrat v Allard et al

As t emailed you Friday, l have issues with it. Per your request, l have reviewed this in detail. Per your request l DO have
questions and/or concerns t never received notification of the Rule 16 conference until you emailed it to me late Friday,
Nlay 4. The order setting the conference stipulates "At least 7 days before the Rule 16 conference, counsel shafl meet to
discuss..." Friday was 6 caiendar days before and only 4 business days before the scheduied conference lf it was set on
l\/larch 22, why wait so long? l can't prepare anything in 4 days and certainly can't schedule a 3-hour commute, my work
schedule prohibits it. | never received the document (Rule 16 conference] dated March 22 from the court until you sent
it Mav 4. I‘ve never been contactecl, personally, with regard to settlement negotiations etc. |'d like to have a face~to
face, logisticalfy it may be tough though. Per the order; Case Manager: Any questions concerning the order or scheduling
conference should be directed to lane Nl. Tepper (616)456-2253. l have contacted Judge Quist's chambers and office at
that number 3 times, with no return call, yet. l understand that today, May 7 is your timeline to get the joint status
report efi|ed. | simply can't authorize you to electronicaily sign my name in order to submit it. The timeline stipulated
wasn't met and | only had 4 days notice based on your email notifying me of such, as | explained in detail on my message
to the judge. l hope to resolve this quickly and assume you'cl like to do so as well. |'m sure we afl want quick resolution
and am looking forward to working with you to accomplish that. l am unavailable today. |f necessary you'|l have file to
adjourn/reschedule if need be, call my celf and leave a message and |'ll respond as soon as l have coverage (power out
most of the weekend, lnternet down, etc. due to the winds on Friday afternoon).

Respectfully,

David K. Horr

Sent from my iPhone
On l\llay 4, 2018, at 11:41 AiVl, Tyler Osburn <tosburn@schenkboncher.com> wrote:

David:

I have attached the draft joint status report for your review. Please take a look at it and
let me know i.t` you have any questions or concerns If riot, let me know via entail that f
have your approval to sign on your behalf and file with the court. Thanl<s.

dee

Scheak' Bancher & Ryaraa

Tyler 'E. Osburn
Attorney

Schenk Boncher & Rypma
601 'I`lil’ee Mile Rd. NW
Grand Rapids, MI 49544
Plione: (616) 647»8277
l?ax: (616) 647-0958

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the promoting, marketing or recommending of any entity, investment plan or arrangement, nor is
such advice intended or written to be used, and may not be used, by a taxpayer for the purpose of
avoiding Federal tax penalties

<Joint Status Report 20180501.docx>

